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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §            CRIMINAL ACTION H-18-342
                                                 §
ADEMOLA BABATUNDE OKULAJA                        §

                                              ORDER

       Pending before the Court is a letter motion for compassionate release filed on behalf of

defendant Okulaja by his wife. (Docket Entry No. 91.) The motion is not signed by defendant

Okulaja, and his wife is not a licensed attorney authorized to practice before this Court. See FED.

R. CIV. P. 11(a) (“Every pleading, written motion, or other paper must be signed by at least one

attorney of record in the attorney’s name – or by a party personally if the party is unrepresented.”)

Defendant’s wife cannot seek a compassionate release on his behalf.

       The letter motion (Docket Entry No. 91) is DISMISSED WITHOUT PREJUDICE as an

unauthorized pleading.

       Signed at Houston, Texas on November 2, 2020.




                                                             Gray H. Miller
                                                  Senior United States District Judge
